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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                      )       Criminal Case No. 3:10-cr-00033-1
                                              )
v.                                            )       2255 FINAL ORDER
                                              )
ANTWAN LAMAR JACKSON,                         )       By: Norman K. Moon
    Petitioner.                               )       United States District Judge

       In accordance with the Memorandum Opinion entered this day, it is hereby ORDERED

and ADJUDGED as follows:

       (1) The government’s motion to dismiss (Docket No. 148) is GRANTED;

       (2) Jackson’s motion pursuant to 28 U.S.C. § 2255 (Docket No. 132) is DENIED;

       (3) Jackson’s motion pursuant to 28 U.S.C. § 753(f) (Docket No. 129) is DENIED;

       (4) This action is STRICKEN from the active docket of this court; and

       (5) Finding that Jackson has failed to make a substantial showing of the denial of a

           constitutional right as required by 28 U.S.C. § 2253(c), a certificate of appealability is

           DENIED.

       The Clerk is directed to send copies of this Order and the accompanying Memorandum

Opinion to the parties.

                    19th day of October, 2015.
       Entered this _____
